               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:07 CR 33


UNITED STATES OF AMERICA,             )
                                      )
Vs.                                   )                      ORDER
                                      )
JOHN WILSON PATTON.                   )
                                      )
______________________________________                )


      THIS MATTER has come before the court, pursuant to a filing by defendant’s

counsel entitled “Status Report on Obtaining Medical Records” (#278). The Court had

directed counsel for the defendant to obtain copies of all available medical records of

the defendant and to submit them to the Federal Correctional Institution so that they

could be examined and consulted by the examining psychiatrist or psychologist who

is making an examination of the defendant pursuant to court order. Defendant’s

counsel advises that he has obtained records of the treatment of the defendant at the

Veteran’s Administration Hospital in Asheville and that he has made inquiry to locate

other records. Defendant’s counsel request that the court allow him an additional thirty

(30) days to complete the gathering and review of the records, prior to submitting them

to the Federal Correctional Institution. The Federal Correctional Institution, on the

other hand, has sent a letter to the court advising that the evaluation period of the

defendant will end on October 26, 2008. As a result, the undersigned must deny



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defendant’s counsel’s request for an additional thirty days to complete the gathering

and review of the records and shall request that defendant’s counsel submit the records

presently in his possession to Tracy W. Johns, Warden of the Federal Correctional

Institution and to further submit such other additional records as may be obtained so

that they can be considered by the examining psychiatrist or psychologist by October

17, 2008. By submitting the records by that date, the psychiatrist or psychologist will

have at least one week within which to examine those records.




                                       ORDER

      IT IS, THEREFORE, ORDERED, that the defendant’s request that the court

allow him an additional thirty days to submit medical records is DENIED and it is

directed that all medical records of the defendant be submitted to Tracy W. Johns,

Warden of the Federal Correctional Institution, P. O. Box 1000, Butner, NC 27509 on

or before October 17, 2008.

                                           Signed: October 2, 2008




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